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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                           )
                                                  )
               Plaintiff,                         )
                                                  )
       v.                                         )       C.A. No. 22-1466-MN
                                                  )
TESLA, INC.,                                      )
                                                  )
               Defendant.                         )


                                    NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on May 30, 2023, the following documents were served

on the persons listed below in the manner indicated:

   1) Plaintiff Autonomous Devices, LLC’s Responses and Objections To Tesla, Inc.’s First
      Set of Interrogatories (Nos. 1-13)

   2) Plaintiff’s Objections and Responses to Defendant’s First Set of Requests for Production
      (Nos. 1-63)

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Dated: May 30, 2023




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